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     Attorney for Defendant
 6   MANUEL HERRERA

 7                            IN THE UNITED STATES DISTRICT COURT
                            FOR THE EASTERN DISTRICT OF CALIFORNIA
 8

 9
     UNITED STATES OF AMERICA,                         )       No. CR-S-11-296 WBS
10                                                     )
                                                       )
             Plaintiff,                                )       STIPULATION REGARDING
11
                                                       )       EXCLUDABLE TIME PERIODS
12   v.                                                )       UNDER SPEEDY TRIAL ACT;
                                                       )       [PROPOSED] FINDINGS
13   MOCTEZUMA TOVAR, et al.,                          )
                                                       )       Date: February 10, 2014
14                                                     )       Time: 9:30 a.m.
             Defendants.                               )       Judge: Honorable William B. Shubb
15                                                     )
                                                       )
16                                                     )

17

18
             The United States of America through its undersigned counsel, Lee Bickley, Assistant
19
     United States Attorney, together with counsel for defendant Moctezuma Tovar, Thomas A.
20

21
     Johnson, Esq., counsel for defendant Manuel Herrera, John R. Manning, Esq., counsel for

22   defendant Ruben Rodriguez, Bruce Locke, Esq., counsel for defendant Jaime Mayorga, Ronald J.
23   Peters. Esq., counsel for defendant Sandra Hermosillo, Erin J. Radekin, counsel for defendant
24
     Jun Dirain, Matthew M. Scoble, Esq., and counsel for defendant Christian Renteria, Christopher
25
     R. Cosca, Esq., hereby stipulate the following:
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27        1. By previous order, this matter was set for status conference on January 6, 2014.

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        2. By this stipulation, defendants now move to continue the status conference until February
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 2   10, 2014 and to exclude time between January 6, 2014 and February 10, 2014 under the Local

 3   Code T-4 (to allow defense counsel time to prepare).
 4
        3. The parties agree and stipulate, and request the Court find the following:
 5
            a. This is voluminous mortgage fraud case involving (allegedly) numerous properties
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 7
                 and individuals (including seven co-defendants). Thus far, the Government has

 8               produced over 25,000 pages of discovery (plus numerous audio recordings). The
 9               conduct alleged in this matter spans several years and, at the time of indictment, was
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                 several years old.
11
            b.   Counsel for the defendants need additional time to review the discovery and conduct
12

13               investigation.

14          c. Counsel for defendants believe the failure to grant a continuance in this case would
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                 deny defense counsel reasonable time necessary for effective preparation, taking into
16
                 account the exercise of due diligence.
17
            d. The Government does not object to the continuance.
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19          e. Based on the above-stated findings, the ends of justice served by granting the

20               requested continuance outweigh the best interests of the public and the defendants in
21
                 a speedy trial within the original date prescribed by the Speedy Trial Act.
22
            f. For the purpose of computing time under the Speedy Trial Act, 18 United States Code
23
                 Section 3161(h)(7)(A) within which trial must commence, the time period of January
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25               6, 2014 to February 10, 2014, inclusive, is deemed excludable pursuant to 18 United

26               States Code Section 3161(h)(7)(A) ) and (B)(iv), corresponding to Local Code T-4
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                 because it results from a continuance granted by the Court at defendant’s request on
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                  the basis of the Court’s finding that the ends of justice served by taking such action
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 2                outweigh the best interest of the public and the defendant in a speedy trial.

 3         4. Nothing in this stipulation and order shall preclude a finding that other provisions of the
 4
              Speedy Trial Act dictate that additional time periods are excludable from the period
 5
              within which a trial must commence.
 6

 7   IT IS SO STIPULATED.
 8

 9   Dated: December 31, 2014                                       /s/ Thomas A. Johnson
                                                                    THOMAS A. JOHNSON
10                                                                  Attorney for Defendant
11
                                                                    Moctezuma Tovar

12   Dated: December 31, 2014                                        /s/ John R. Manning
                                                                    JOHN R. MANNING
13
                                                                    Attorney for Defendant
14                                                                  Manuel Herrera

15   Dated: December 31, 2014                                       /s/ Bruce Locke
                                                                    BRUCE LOCKE
16
                                                                    Attorney for Defendant
17                                                                  Ruben Rodriguez

18   Dated: December 31, 2014                                        /s/ Ronald J. Peters
                                                                    RONALD J. PETERS
19
                                                                    Attorney for Defendant
20                                                                  Jaime Maorga

21   Dated: December 31, 2014                                       /s/ Erin J. Radekin
                                                                    ERIN J. RADEKIN
22
                                                                    Attorney for Defendant
23                                                                  Sandra Hermosillo

24   Dated: December 31, 2014                                        /s/ Matthew M. Scoble
                                                                    MATTHEW M. SCOBLE
25
                                                                    Attorney for Defendant
26                                                                  Jun Dirain

27   ///
28
     ///


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     Dated: December 31, 2014                      /s/ Christopher Cosca
 1
                                                   CHRISTOPHER COSCA
 2                                                 Attorney for Defendant
                                                   Christian Renteria
 3

 4
     Dated: December 31, 2014                      Benjamin B. Wagner
 5                                                 United States Attorney

 6                                                 by:/s/ Lee Bickley
 7
                                                   LEE BICKLEY
                                                   Assistant U.S. Attorney
 8

 9
                                      ORDER
10          IT IS SO FOUND AND ORDERED.
11   Dated: January 2, 2014

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